               Case 1:17-cr-00295-CMH Document 21 Filed 05/06/19 Page 1 of 3 PageID# 51
^AO I99A (Rev. 6/97) Order Setting Conditions of Release                                                                     Page I of           Pages


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                                     United States District Court :                                                                       ^ 2019 j
                                                                                                              :     I. , ,                         ;■
                                                 Eastern           District of          Virginia              ^- •                    .                   j

                   United States of America                             ORDER SETTING CONDITIONS
                                                                                        OF RELEASE
                                V.


                                   tViAi            faiQhe ^                          \-.ncr2S^
 IT IS ORDERED that the release of the defendant is subject to the following conditions:

           (1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

           (2) The defendant shall immediately advise the court, defense counsel and the U.S. Attomey in writing before any change in
                 address and telephone number.

           (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

                 directed. The defendant shall appear at (if blank, to be notified)                United States District Court

                    401 Courthouse Sq., Alexandria, VA        on
                                                                                              Date and Time




                                        Release on Personal Recognizance or Unsecured Bond

  IT IS FURTHER ORDERED that the defendant be released provided that:

  ( ^ ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.
  (S£ ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
                                                                                                              dollars ($—^                          )
                 in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




                    DISTRIBUTION:      COURT      DEFENDANT    PRETRIAL      SERVICES       U.S. ATTORNEY         U.S. MARSHAL
Case 1:17-cr-00295-CMH Document 21 Filed 05/06/19 Page 2 of 3 PageID# 52
Case 1:17-cr-00295-CMH Document 21 Filed 05/06/19 Page 3 of 3 PageID# 53
